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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



United States of America,                         Criminal No. 08-395 (RHK/JJG)

                     Plaintiff,                      ORDER ON REPORT AND
                                                      RECOMMENDATION
v.

Chris Bronner (01),
Fredrick Deshawn Holmes (03),
Kenneth Dwayne Hudson (04),
Lawrence Darryl Porter (06),
Donald Scott Schultz (08),
Michael Donjuarel Scott (09), and
Courtney Tiandre Totten (12),

                     Defendants


       The above-entitled matter came before the Court upon the Report and

Recommendation of the United States Magistrate Judge. Other than Defendant Scott, no

objections have been filed to that Report and Recommendation in the time period

permitted.

       Based upon a de novo review of the Report and Recommendation, and of

Defendant’s Scott’s Objections thereto, and all the files, records and proceedings herein,

       IT IS ORDERED:

       1. Defendant Donjuarel Scott’s Objections (Doc. No. 342) are OVERRULED;

       2. The Report and Recommendation (Doc. No. 324 for Defendant Bronner; Doc.

No. 326 for Defendant Holmes; Doc. No. 327 for Defendant Hudson; Doc. No. 329 for
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Defendant Porter; Doc. No. 330 for Defendant Schultz; Doc. No. 331 for Defendant

Scott; and Doc. No. 332 for Defendant Totten) is ADOPTED;

      3. Defendant Chris Bronner’s Motion for Suppression of Statements (Doc.

No. 136) is terminated as WITHDRAWN;

      4. Defendant Chris Bronner’s Motion to Exclude Eyewitness Identifications (Doc.

No. 183) is terminated as WITHDRAWN;

      5. Defendant Fredrick Holmes’ Motion to Suppress Confessions, Admissions or

Statements (Doc. No. 248) is DENIED AS MOOT;

      6. Defendant Fredrick Holmes’ Motion to Suppress Evidence Obtained Through

Illegal Search (Doc. No. 251) is DENIED AS MOOT;

      7. Defendant Fredrick Holmes’ Motion to Suppress Search and Seizure Evidence

(Doc. No. 252) is DENIED AS MOOT;

      8. Defendant Kenneth Hudson’s Motion to Suppress Statements, Admissions, and

Answers (Doc. No. 160) is terminated as WITHDRAWN;

      9. Defendant Lawrence Porter’s Motion to Suppress All Electronic Surveillance

Evidence and Evidence Derived Therefrom (Doc. No. 143) is DENIED AS MOOT;

      10. Defendant Donald Schultz’s Motion to Suppress Evidence as a Result of a

Warrantless Vehicle Search (Doc. No. 199) is GRANTED;

      11. Defendant Donald Schultz’s Motion to Renew Motion to Suppress

Warrantless Automobile Search (Doc. No. 267) is GRANTED;




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      12. Defendant Michael Scott’s Motion for Release from Custody (Doc. No. 140)

is DENIED;

      13. Defendant Michael Scott’s Motion to Suppress for a Rule 5(a) Violation (Doc.

No. 147) is DENIED;

      14. Defendant Michael Scott’s Motion to Suppress Statements, Admissions, and

Answers (Doc. No. 150) is DENIED;

      15. Defendant Michael Scott’s Motion to Dismiss Indictment (Doc. No. 255) is

DENIED; and

      16. Defendant Michael Scott’s Motion to Suppress Evidence (Doc. No. 262) is

DENIED.

Dated: June 19, 2009
                                       s/Richard H. Kyle
                                       RICHARD H. KYLE
                                       United States District Judge




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